                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
v.                                               )          No. 3:07-MJ-1059
                                                 )          (SHIRLEY)
                                                 )
DEVIN CRADIC                                     )
                                                 )
                      Defendant.                 )



                                   ORDER OF DETENTION

               This matter came before the Court for a preliminary hearing and a detention

hearing on May 31, 2007. Hugh Ward, Assistant United States Attorney, was present

representing the government and Scott Green was present representing the defendant. At the

hearing, however, counsel for the defendant stated to the Court that the defendant wished to

waive his right to a detention hearing a preliminary hearing and signed the appropriate waiver.

               Pursuant to the defendant signing the waivers, the defendant is to be

detained. 18 U.S.C. § 3142(f)(2)(B). The government stated it had no objections. The

defendant was present. For good cause, and by agreement of the defendant, this detention

hearing is waived and the defendant is detained.

               The defendant is aware of his rights to a prompt detention hearing and to

require the government to meet its burden of proving that no conditions of release exist

which will reasonably assure his appearance in court and the safety of the community.

The defendant knows that if his detention hearing is waived he will remain in custody


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while it is continued. The defendant acknowledged in open court that he understands his

rights and the consequences of waiving his detention hearing.

             For good cause shown, the defendant’s request not to contest, and to waive

the detention hearing is hereby GRANTED.

             It is therefore ORDERED that:

             (1)    Defendant be detained.;

             (2)    Defendant be committed to the custody of the Attorney
                    General for confinement in a corrections facility separate, to
                    the extent practicable, from persons awaiting or serving
                    sentences or being held in custody pending appeal;

             (3)    Defendant be afforded reasonable opportunity for private
                    consultation with counsel; and

             (4)    On order of a court of the United States or on request of an
                    attorney for the government, the person in charge of the
                    corrections facility in which the defendant is confined
                    deliver the defendant to a United States marshal for the
                    purpose of an appearance in connection with any court
                    proceeding.


             IT IS SO ORDERED.

                                         ENTER:

                                           s/ C. Clifford Shirley, Jr.
                                         United States Magistrate Judge




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